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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.                                      Crim. No. 21-123 (PLF)

    VITALI GOSSJANKOWSKI,

                      Defendant.



             MOTION TO DISMISS RESTRICTED AREA CHARGES
             UNDER 18 U.S.C. § 1752(a) (COUNTS FOUR AND FIVE)

         Vitali GossJankowski, through undersigned counsel, and pursuant to Federal

Rule of Criminal Procedure 12(b)(3), hereby respectfully requests that the Court

dismiss Counts Four and Five of the Superseding Indictment (“SI”), ECF 41, which

charge him with entering and remaining in a restricted building or grounds, in

violation of 18 U.S.C. § 1752(a)(1), and disorderly and disruptive conduct in a

restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(2), respectively. 1

Counts Four and Five fail to adequately allege violations of § 1752(a)(1) and (a)(2).

Specifically, Counts Four and Five do not, and cannot, allege the “restricted buildings

or grounds” element of § 1752(a). In addition, § 1752(a)(2) is unconstitutionally vague

and overbroad. Accordingly, both Counts must be dismissed. 2


1While each count also charges an enhanced punishment provision of the statute for
“us[ing] or carr[ying] a deadly or dangerous weapon or firearm,” § 1752(b)(1)(A), those
charges do not impact this motion.

2Undersigned counsel acknowledges that this Court considered and denied a similar
motion in United States v. Anthony Puma, 21-cr-454, 2022 WL 823079 (D.D.C. Mar.
19, 2022).
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                                  BACKGROUND

      The operative indictment alleges six counts against Mr. GossJankowski

relating to the events at the U.S. Capitol on January 6, 2021. In relevant part, Count

Four alleges that Mr. GossJankowski:

      did unlawfully and knowingly enter and remain in a restricted building
      and grounds, that is, any posted, cordoned-off, and otherwise restricted
      area within the United States Capitol and its grounds, where the Vice
      President was temporarily visiting, without lawful authority to do so . .
      ..

SI at 3. Count Five alleges that Mr. Gossjankowski:

      did knowingly, and with intent to impede and disrupt the orderly
      conduct of Government business and official functions, engage in
      disorderly and disruptive conduct in and within such proximity to, a
      restricted building and grounds, that is, any posted, cordoned-off, and
      otherwise restricted area within the United States Capitol and its
      grounds, where the Vice President was temporarily visiting, when and
      so that such conduct did in fact impede and disrupt the orderly conduct
      of Government business and official functions . . . .

Id.

      Section 1752 prohibits conduct in or “proximat[e] to” “any restricted building

or grounds.” The statute expressly defines the term “restricted buildings or grounds”

as follows:

      (1) the term “restricted buildings or grounds” means any posted,
      cordoned off, or otherwise restricted area—

              (A) of the White House or its grounds, or the Vice
              President's official residence or its grounds;

              (B) of a building or grounds where the President or other
              person protected by the Secret Service is or will be
              temporarily visiting; or




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             (C) of a building or grounds so restricted in conjunction
             with an event designated as a special event of national
             significance.

18 U.S.C. § 1752(c)(1); see United States v. Samira Jabr, Criminal No. 18-0105,

Opinion at 12, ECF No. 31 (May 16, 2019), aff’d, 4 F.4th 97 (D.C. Cir. 2021).

                                     ARGUMENT

I.    Counts Four and Five Each Fail to State an Offense Because the
      “United States Capitol and its Grounds” Could Not Constitute
      “Restricted Buildings or Grounds” Under § 1752.

      In both counts, the government alleges that “the United States Capitol and its

grounds” were “restricted” from Mr. GossJankowski specifically and solely because

“the Vice President was temporarily visiting” that entire location. The “United States

Capitol and its grounds” do not automatically constitute “restricted buildings or

grounds” under any prong of § 1752(c)(1). Nor did the Capitol grounds somehow

become “restricted grounds” on January 6, 2021 because of a “temporar[y]” vice-

presidential “visit[],” as the government asserts.

      The Vice President’s relationship to Congress and the Capitol building is

significant. The Vice President is an institutional player in Congress. His or her role

in the Senate is embedded in the very structure of the Legislative Branch: the Vice

President serves as the “President of the Senate” and is responsible for providing the

tie-breaking vote. U.S. CONST. art. I, § 3, cl. 4. The Vice President is routinely present

in the Capitol building to fulfill his or her constitutional obligations. By way of

example, Vice President Pence traveled to the Senate thirteen times in his tenure

just to cast tie-breaking votes; and Vice President Kamala Harris traveled to the



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Senate fifteen times in 2021 alone to cast tie-breaking votes. 3 Further, the

Constitution and federal law obligate the Vice President, at a set date and time, to

preside over and participate in the process by which electoral votes for the office of

the Presidency and Vice Presidency are opened, counted, and certified. U.S. CONST.

amend. XII; 3 U.S.C. § 15.

         To that end, the Vice President has a dedicated, permanent office reserved for

his or her use in the Senate. That office has existed since at least the early nineteenth

century. 4    The Vice President’s “close proximity . . . to the Senate chamber has

allowed the vice president easy access to the members when the Senate is in session,”

including “lobbying senators to vote against legislation [s]he oppose[s] and frequently

lecturing senators on procedural and policy matters.” 5 The Vice President’s Room in

the Senate building has hosted “ceremonial functions, informal party caucuses, press

briefings, and private meetings” for decades. 6 Unsurprisingly, given its frequent and

important use, the office is not a drab holding space; it is appointed with mahogany



3
 U.S. Senate, Votes to Break Ties in the Senate, https://tinyurl.com/ye8t4nu8 (last
visited June 9, 2022) [hereinafter “Votes to Break Ties in the Senate”].

4
   U.S. Senate, About the Vice President (President                  of   the   Senate),
https://tinyurl.com/2p8n43y9 (last visited June 9, 2022).

5 Office of the Senate Curator, The Vice President’s Room, S. Pub. 106–7,
https://tinyurl.com/3wyb9web (last visited June 9, 2022) [hereinafter “The Vice
President’s Room”], at 3 (first quotation); see U.S. Senate, About the Vice President —
Historical Overview, https://tinyurl.com/46rhuwyk (last visited June 9, 2022)
[hereinafter “Historical Overview”] (second quotation) (describing the “active role” of
John Adams).

6   The Vice President’s Room, supra note 5, at 3.


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furniture, a marble fireplace mantel, and fine art. 7 In contrast to the longstanding

permanent office in Congress, the Vice President did not have an office in the West

Wing of the White House until 1977. 8

         In addition, “[t]he United States Capitol is a unique situs for demonstration

activity and is a place traditionally open to the public—thousands visit each year—

to which access cannot be denied broadly or absolutely.” Wheelock v. United States,

552 A.2d 503, 506 (D.C. 1988) (cleaned up). It “may not be declared off limits to the

people.” United States v. Nicholson, Op. at 3 (D.D.C. June 19, 1969) (Green, C.J.),

reprinted as Appendix in Dellums v. Powell, 566 F.2d 167, 198 (D.C. Cir. 1977).

         A.       The United States Secret Service (“USSS”) Did Not Designate,
                  Post, Cordon Off, or Otherwise Restrict the Entire Capitol
                  Building and All of its Grounds In Relation to the Vice
                  President’s Presence There on January 6, 2021.

         Section 1752 was enacted to permit the USSS to restrict areas for temporary

visits by the President. See S. Rep. No. 91-1252 (1970). At the time of enactment,

the USSS was part of the Treasury. Thus, § 1752 grants the Treasury Secretary the

authority to “designate by regulations the buildings and grounds which constitute the

temporary residences of the President.” 18 U.S.C. § 1752(d)(1). It also allows the




7   Id. at 4–6.

8“Mondale was the first vice president to have an office in the West Wing of the White
House.” The career of Walter Mondale, Carter’s vice president, in pictures, NBC News,
Apr. 20, 2021, https://tinyurl.com/5bxc5xns (last visited June 9, 2022); accord Brock
Brower, The Remaking of the Vice President, N.Y. TIMES, June 5, 1977,
https://www.nytimes.com/1977/06/05/archives/the-remaking-of-the-vice-
president.html (last visited June 9, 2022) (“Jimmy Carter allowed Fritz Mondale not
just Whi[t]e House-room but his pick of any office that wasn’t oval.”).
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Secretary to “to prescribe regulations governing ingress or egress to such buildings

and grounds to be posted, cordoned off, or otherwise restricted areas where the

President may be visiting.” 18 U.S.C. § 1752(d)(2). Nothing in the language of the

statute permits or suggests that any entity other than the USSS has the authority to

post, cordon-off, or otherwise restrict an area such that someone who enters or

remains in that area may be subject to criminal prosecution under § 1752.

      The legislative history bolsters this interpretation.     The Senate Judiciary

Committee report accompanying the current version of § 1752 noted that there was

no federal statute that specifically authorized the Secret Service to restrict areas

where the President maintains temporary residences and the senators explained that

the key purpose of the bill was to provide that authority to the Secret Service. S. Rep.

No. 91-1252 (1970).

      The USSS did not designate, post, cordon-off, or otherwise restrict the entire

Capitol Building and its entire grounds in relation to the Vice President’s presence

there for the electoral vote count on January 6, 2021. Indeed, it appears that the

USSS designated, posted, cordoned off, and otherwise restricted solely the area

within a few feet of Vice President Pence at any given time—if any area at all—in

connection with his presence at the Capitol. Restrictions imposed on entering the

Capitol buildings or grounds that had nothing to do whatsoever with Vice President

Pence’s presence cannot provide the basis for criminal prosecution under § 1752.




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      B.     The Vice President Was Not “Temporarily Visiting” the “Capitol
             and its Grounds.”

      For Counts Four and Five to allege the “restricted buildings or grounds”

element of § 1752(a), as charged, the Capitol and/or its grounds must have been a

place the Vice President was “temporarily visiting” when presiding over the opening,

counting, and certification of electoral votes. The meaning of “temporarily visiting”

and, in turn, the sufficiency of the allegations are questions of law for the Court to

decide. See United States v. Jabr, 2019 WL 13110682, at *6–7 (D.D.C. May 16, 2019).

      The plain meaning of “temporarily visiting” does not encompass conducting

official business at one’s own permanent office or place of business. And if the term

could plausibly encompass that conduct (contrary to the plain meaning and ordinary

person’s understanding), then the statute is ambiguous and lenity requires a

narrower construction. Because the statute simply does not apply here, Counts Four

and Five should be dismissed.

      The phrase “temporarily visiting” is not defined by statute, so its ordinary

meaning, fixed at the time of enactment, controls. See, e.g., Burrage v. United States,

571 U.S. 204, 210–12 (2014) (where Controlled Substances Act did not define “results

from,” the Court gave that phrase its “ordinary meaning”). Based on dictionary

definitions of “temporarily” and “visiting” from about 1971, when § 1752 was enacted,

“someone is ‘temporarily visiting’ a location if they have gone there for a particular

purpose, be it business, pleasure or sight-seeing, and for a limited time, which could

be brief or extended while nonetheless remaining temporary.” United States v.




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McHugh, 2022 WL 296304, at *20 (D.D.C. Feb. 1, 2022) (internal quotation marks

omitted).

      Two guardrails attend that definition. First, the phrase “temporarily visiting”

includes an implicit normally-lives-or-works carveout because the ordinary person

would not “describe an ordinary commute from home to one’s regular workplace as

‘temporarily visiting’ the office.” Id. at *22; see Wooden v. United States, 142 S. Ct.

1063, 1069 (2022) (construing “occasions” in § 924(e)(1) in light of “how an ordinary

person . . . might describe” it “and how she would not” (emphasis added)); see also,

e.g., Young v. United States, 943 F.3d 460, 463 (D.C. Cir. 2019) (construing “imposed”

in § 401(c) of the First Step Act according to its “ordinary usage”). Indeed, because

the plain meaning of “visit” denotes a time limitation unconnected to the word

“temporary,” the words “temporarily visiting” together connote temporary travel to

some location where a person does not normally reside or work on a regular basis for

some purpose other than a person’s regular job activities. Second, “temporarily

visiting” should not be interpreted as though it means “physically present” because

that is not what Congress wrote. See McHugh, 2022 WL 296304, at *22. If Congress

wanted to define “restricted building or grounds” to encompass anywhere a Secret

Service protectee is or will be physically present, then it would have omitted the

phrase “temporarily visiting” or actually written “physically present.”

      It follows that Vice President Pence was not “temporarily visiting” the Capitol

when fulfilling his constitutional obligations. He was simply at work that day. The

Constitution obligates the Vice President to be physically present in the Senate with



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some frequency, not only to preside over the opening, counting, and certification of

electoral votes every four years but also to cast tie-breaking votes as needed on

legislation and judicial nominations. And the number of times Vice Presidents Pence

and Harris have been present in Congress over the last five years solely to provide

tie-breaking votes—28 times—speaks to the frequent, routine nature of the Vice

President’s work in the Capitol. 9 In other words, the Vice President does not

“temporarily visit” the Capitol—he or she works there.

         That conclusion is consistent with the weight of history. The Vice President

has had an office in Congress and conducted official business from that office since

nearly the Founding. Historically, vice presidents are in the Capitol not only for the

electoral vote certification, but also to cast tie-breaking votes, lobby senators, and

hold “informal party caucuses, press briefings, and private meetings” from that

office. 10 Critically, when Congress enacted § 1752 in 1971, the Vice President did not

even have an office in the West Wing. 11 In other words, Congress enacted § 1752(a)(1)

with the background understanding that the Vice President’s office historically has

been and remained in the Capitol building. See, e.g., Abuelhawa v. United States, 556

U.S. 816, 823–24 (2009) (declining to interpret 21 U.S.C. § 843(b) to reach a result in

conflict with the background understanding against which Congress legislated).




9
    Votes to Break Ties in the Senate, supra note 3.

10
     The Vice President’s Room, supra note 5, at 3; Historical Overview, supra note 5.

11   See Pub. L. No. 91–644, 84 Stat. 1891 § 18 (Jan. 2, 1971).
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Accordingly, there is no reason to think that, at the time it enacted § 1752, Congress

understood the Capitol could be somewhere the Vice President “temporarily visit[s].”

      A more capacious reading of “temporarily visiting” transforms that phrase into

a “physically present” requirement that is noticeably absent from the statutory text.

Treating the Vice President’s performance of his constitutional obligations in his

established place of work as a “temporary visit” blurs the distinction between travel

to ordinary places of business for repeat purposes and limited travel to a location “for

a particular purpose . . . and for a limited time.” See McHugh, 2022 WL 296304, at

*20 (internal quotation marks omitted). As the court in McHugh pointed out, the

dictionary definition of “temporarily visiting,” coupled with commonsense and

everyday experience, means § 1752(c)(1)(B) refers to the latter, not the former. See

id. Otherwise, everywhere the Vice President travels outside his residence would

constitute somewhere he is “temporarily visiting.” And if Congress wanted to define

“restricted building or grounds” to encompass anywhere the President or a Secret

Service protectee is or will be physically present, then it would have done so. See id.

at *22; see also, e.g., Fresno Cmty. Hosp. & Med. Ctr. v. Cochran, 987 F.3d 158, 162

(D.C. Cir. 2021) (where plaintiffs’ preferred interpretation simply was “not what the

statute says,” court of appeals declined to “scrub up for statutory surgery, excising

some words and engrafting others,” in order to adopt it).

      The absurdity of treating the entire Capitol building and its entire grounds as

“restricted buildings and grounds” under § 1752(c)(1)(B) merely on account of the Vice

President’s physical presence there to do his job is apparent when compared to the



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statute’s application in other cases. For example, courts have held that “temporarily

visiting” reaches an area near an airport hangar and a portion of a park restricted by

the Secret Service ahead of a rally at which the President or Vice President appeared.

See United States v. Bursey, 416 F.3d 301 (4th Cir. 2005) (airport hangar); United

States v. Junot, 902 F.2d 1580 (9th Cir. 1990) (unpublished) (park). Airport hangars

and parks are natural fits for the phrase “temporarily visiting,” given the ordinary

person’s understanding that one “temporarily visits” a location where the person does

not normally live or work. See McHugh, 2022 WL 296304, at *21. Meanwhile, the Vice

President’s time in the Capitol, where he has a permanent office and frequently must

appear to fulfill his constitutional obligations, is entirely unlike a brief stop in an

airport hangar or park to give a one-off speech. See also Jabr, 2019 WL 13110682, at

*7–10 (plain meaning of “the White House or its grounds” in § 1752(c)(1)(A) did not

include “the U.S. Treasury Building and its grounds”).

      Courts that have ruled on this issue have reasoned that “the Vice President’s

working office is in the West Wing” and “anyone with a working knowledge of modern

American government” understands that the Vice President “is principally an

executive officer who spends little time at the Capitol and likely even less in her

‘office’ there.” See, e.g., McHugh, 2022 WL 296304, at *22. Thus, the rationale is that

Vice President Pence was “temporarily visiting” his own office at the Capitol (even

though the ordinary person understands that one does not “temporarily visit” one’s

own office) because the Vice President has another office that everyone supposedly

knew he used more frequently. In shoehorning this theory into § 1752(c)(1)(B), the



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courts have rejected the ordinary person’s understanding of what “temporarily

visiting” means when it comes to the Vice President, specifically, without any basis

in the statutory text.

      That faulty logic creates fair notice problems. Due process requires that “a

penal statute define the criminal offense with sufficient definiteness that ordinary

people can understand what conduct is prohibited.” Kolender v. Lawson, 461 U.S. 352,

357 (1983). Nothing in the statutory text signals to the reader that the ordinary

meaning of “temporarily visiting” applies to the Vice President differently than any

person. Plus, under that reasoning, the regularity of the Vice President’s physical

presence in the Capitol building, judged against “modern” practice, dictates whether

he is “temporarily visiting” that building, which, in turn, dictates whether an

individual is unlawfully in a “restricted area.” As a result, the statute’s reach expands

and contracts based on fluid, unidentified factors—the frequency with which the Vice

President casts a tie-breaking vote, his personal preference for working in his Senate

office, his travel schedule, etc. Such indeterminacy provides no parameters by which

the ordinary person can discern when the Vice President is “temporarily visiting” a

public government building and, in turn, know when the building is “restricted” for

purposes of § 1752(a); it specifies “no standard of conduct at all.” United States v.

Bronstein, 849 F.3d 1101, 1107 (D.C. Cir. 2017) (quoting Coates v. Cincinnati, 402

U.S. 611, 614 (1971)); see also, e.g., United States v. Davis, 139 S. Ct. 2319, 2324, 2336

(2019) (holding that § 924(c)(3)(B) is unconstitutionally vague, given that its

“language, read in the way nearly everyone (including the government) has long



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understood it, provides no reliable way to determine which offenses qualify as crimes

of violence”).

       In United States v. Class, the D.C. Circuit recently assessed whether 40 U.S.C.

§ 5104(e), which prohibits the possession of firearms on the grounds of the Capitol,

was unduly vague on account of the law making it difficult to determine whether a

certain parking lot fell within the restricted area. 930 F.3d 460 (D.C. Cir. 2019). The

Court of Appeals held that the law was not vague because it defined the restricted

area “by a map and a specific list of intersections and streets that are part of the

public law,” meaning, “[a] citizen concerned about violating the ban need not . . .

speculate about the uses the various parcels of land. He must simply . . . open the

statute book—even if here he may need two.” Id. at 468. By comparison, under

McHugh’s—and the subsequent opinions—reading of § 1752(c)(1)(B), the ordinary

person could not look to a statute book (or even along a “circuitous route” of resources)

to determine if the Capitol building is “restricted” on account of the Vice President

“temporarily visiting” it. Cf. Class, 930 F.3d. at 467. Instead, the law would be fluid

and subject to sudden change. Indeed, even if the “ordinary person” is someone “with

a working knowledge of modern American government” (which the defense doubts),

McHugh, 2022 WL 296304, at *22, she would have no reason to think the modern

Vice President “likely spends little time” in his Senate office based on recent

observations—Vice Presidents Pence and Harris have been in the Capitol nearly

thirty times in the last few years just to provide a tiebreaker vote. As such, McHugh’s




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interpretation of § 1752(c)(1)(B) does not provide the “sufficient definiteness” that due

process requires.

      To the extent “temporarily visiting” is ambiguous, principles of lenity and

constitutional avoidance counsel in favor of a narrower construction.         The most

straightforward (and correct) reading of “temporarily visiting” is the one McHugh

discerned and should have applied: a Secret Service protectee’s travel to a location

for a particular purpose and lasting a limited time, excluding travel to and from the

protectee’s own place of work. Alternatively, as the court in McHugh concluded, the

phrase might be read more broadly to reach a Secret Service protectee’s temporary

travel to his own office, provided the ordinary person knows that, in recent years, the

protectee does not spend much time in that office (but instead, uses primarily another

office). 2022 WL 296304, at *22.

      Principles of lenity compel the narrower construction. A defendant should not

suffer surprise at the hands of an ambiguous law; “when the government means to

punish, its commands must be reasonably clear.” SCALIA & GARNER at 299; accord

Wooden, 142 S. Ct. at 1082 (Gorsuch, J., concurring) (“Lenity works to enforce the fair

notice requirement by ensuring that an individual’s liberty always prevails over

ambiguous laws.”). Thus, when a reasonable doubt persists about a statute’s meaning

even after employing tools of statutory interpretation to try to resolve it, the court

should adopt the reading that favors the defendant. See Moskal v. United States, 498

U.S. 103, 108 (1990); accord, e.g., United States v. Villanueva-Sotelo, 515 F.3d 1234,

1246 (D.C. Cir. 2008) (rule of lenity, as described in Moskal, supported adopting



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narrower construction of 18 U.S.C. § 1028A(a)(1)). 12 Here, in applying the rule of

lenity, the Court should read “temporarily visiting” in § 1752(c)(1)(B) to exclude the

Vice President’s presence at the U.S. Capitol to conduct business. Such a reading is

consistent with the ordinary person’s understanding of the phrase, avoids a vague

and obscure description of when a protectee’s travel to a place triggers criminal

liability under § 1752(a) for those in the vicinity, and accords with the course the

Supreme Court has charted. See, e.g., Scheidler v. Nat’l Org. for Women, Inc., 537

U.S. 393, 403 n.8, 408–09 (2003) (applying rule of lenity when construing “obtain” in

the Hobbs Act and favoring “the familiar meaning of the word” over a “vague and

obscure” description); Miller slip op. at 28 (after concluding § 1512(c)(2) was subject

to “two plausible interpretations,” adopting the narrower interpretation in light of

principle of lenity and dismissing count for failure to allege an offense within that

narrower meaning); Guertin, 2022 WL 203467, at *3–4 (to the extent any question

remained about whether indictment alleged an offense under § 1343 based on



12
  There is ambiguity in the case law over the level of ambiguity required to trigger
the rule of lenity. While some statements from the Supreme Court suggest the rule
applies only where there is a “grievous ambiguity,” the rule’s historical origins
indicate a less stringent standard. See, e.g., Wooden, 142 S. Ct. at 1084 (Gorsuch, J.,
concurring) (“This ‘grievous’ business does not derive from any well-considered theory
about lenity or the mainstream of this Court’s opinions. Since the founding, lenity
has sought to ensure that the government may not inflict punishments on individuals
without fair notice and the assent of the people’s representatives.”); Miller slip op. at
9 (describing conflicting standards for applying rule of lenity); see also SCALIA &
GARNER at 298–99 (acknowledging various standards exist for applying rule of lenity
and opining that Moskal-stated standard most closely aligns with the rule’s policy
interest in visiting the consequences of an ambiguous law “on the party more able to
avoid and correct the effects of shoddy legislative drafting”). Even if the standard is
“grievous ambiguity,” rather than persistent doubt, lenity counsels in favor of the
narrower construction of § 1752(c)(1)(B).
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whether “obtaining money or property” could mean “maintaining money or property,”

lenity counseled in favor of resolving that ambiguity in defendant’s favor; count

dismissed).

      Similarly, principles of constitutional avoidance counsel in favor of adopting

the reading of the statute that does not raise questions about the statute’s legitimacy.

The presumption of constitutionality and the constitutional-doubt canon allow the

judiciary to uphold ambiguous legislation. The former “holds that courts should, if

possible, interpret ambiguous statutes to avoid rendering them unconstitutional” and

the latter “militates against not only those interpretations that would render the

statute unconstitutional but also those that would even raise serious questions of

constitutionality.” Davis, 139 S. Ct. at 2332 & n.6; SCALIA & GARNER at 247–48. In

light of the due process concerns that attend construing the statute to reach a Secret

Service protectee’s presence at the U.S. Capitol, contrary to ordinary understanding

and based on that individual protectee’s personal predilections and practices, this

Court should decline to adopt that reading. See, e.g., United States v. Cano-Flores,

796 F.3d 83, 91–94 (D.C. Cir. 2015) (constitutional avoidance principles counseled

reading statute not to authorize imposition of forfeiture, based on total revenue of

conspiracy, on mid-level manager defendant, given Eighth Amendment concerns).

      In the end, the allegations simply do not align with the statute’s text. A person

does not “temporarily visit” his own office or place of business, even when that person

is the Vice President of the United States. Counts Four and Five should be dismissed

because the allegations, even if proven, would not be sufficient to permit a jury to find



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that a violation of § 1752(a) was committed. See, e.g., Guertin, 2022 WL 203467, at

*2–6 (dismissing count that could not state an offense under § 1343 as a matter of

law based on theory alleged; wire fraud statute does not criminalize scheme to

“maintain” something); Payne, 382 F. Supp. 3d at 76–77 (dismissing indictment that

could not state an offense under § 922(g)(1) as a matter of law based on theory alleged;

prior convictions had been expunged by certificates that did not expressly include

prohibition on firearm possession and, therefore, could not support § 922(g)(1)

charge); Brown, 2007 WL 2007513, at *3–5 (dismissing counts in indictment that

failed to allege violation of § 1512(c)(2) as a matter of law based on theory alleged;

D.C. Superior Court grand jury allegedly obstructed was not a “Federal grand jury”

within the meaning of § 1515(a)(1)).

      If there is a gap in the statute, then it is for the legislature, not the judiciary,

to fill. Stretching § 1752(c)(1)(B) to fit one random particular event in history—to

which it plainly does not apply—is not an appropriate or constitutionally-valid

solution. Instead, “[r]espect for due process and the separation of powers suggests a

court may not, in order to save Congress th[at] trouble, . . . construe a criminal statute

to penalize conduct it does not clearly proscribe.” Davis, 139 S. Ct. at 2333. The

Constitution envisions that expansions of law come from Congress, not courts. See,

e.g., Scheidler, 537 U.S. at 409 (“a significant expansion of the law’s coverage must

come from Congress, and not from the courts.”).

      To be clear, concluding that the allegations here fall outside the ambit of

§ 1752(c)(1)(B) does not undermine the government’s ability to prosecute those who



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enter the Capitol building or grounds unlawfully or those who threaten the Secret

Service’s protection of the Vice President. See, e.g., 18 U.S.C. § 3056(d); 40 U.S.C.

§ 5104(e). Further, the government remains free to prosecute violations of § 1752(a)

based on the Vice President’s “temporar[y] visit” to a location other than his own office

building “for a particular purpose . . . and for a limited time.” Cf. McHugh, 2022 WL

296304, at *20.

II.    Count Five Should Be Dismissed Because Section 1752(a)(2) is
       Unconstitutionally Vague and Overbroad.

       A criminal statute is unconstitutionally vague if it “fails to give ordinary people

fair notice of the conduct it punishes, or [is] so standardless that it invites arbitrary

enforcement.” United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir. 2017)

(quoting Johnson v. United States, 576 U.S. 591, 595 (2015)). “The touchstone is

whether the statute, either standing alone or as construed, made it reasonably clear

at the relevant time that the defendant’s conduct was criminal.” United States v.

Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine protects against

arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct. 1204,

1212 (2018) (citing Kolender, 461 U.S. at 358).

       “The prohibition of vagueness in criminal statutes ‘is a well-recognized

requirement, consonant alike with ordinary notions of fair play and the settled rules

of law,’ and a statute that flouts it ‘violates the first essential of due process.’” Johnson

v. United States, 576 U.S. 591, 595 (2015) (quoting Connally v. General Constr. Co.,

269 U.S. 385, 391 (1926)). As the Supreme Court has explained,




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      [i]t is a basic principle of due process that an enactment is void for
      vagueness if its prohibitions are not clearly defined. Vague laws offend
      several important values. First, because we assume that man is free to
      steer between lawful and unlawful conduct, we insist that laws give the
      person of ordinary intelligence a reasonable opportunity to know what
      is prohibited, so that he may act accordingly. Vague laws may trap the
      innocent by not providing fair warning. Second, if arbitrary and
      discriminatory enforcement is to be prevented, laws must provide
      explicit standards for those who apply them. A vague law impermissibly
      delegates basic policy matters to policemen, judges, and juries for
      resolution on an ad hoc and subjective basis, with the attendant dangers
      of arbitrary and discriminatory application. Third, but related, where a
      vague statute abuts upon sensitive areas of basis First Amendment
      freedoms, it operates to inhibit the exercise of those freedoms.

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) (internal citations and

quotations omitted). As mentioned by the Supreme Court in Grayned, vagueness

concerns are most acute when the statute imposes criminal penalties and implicates

the First Amendment by chilling exercise of protected expression. See Kolender, 461

U.S. at 358-59 n. 8; Village of Hoffman Estates v. Flipside, 455 U.S. 489, 498-99

(1982); see also Smith v. Goguen, 415 U.S. 566, 573 (1974) (Where “a statute’s literal

scope [reaches] expression sheltered by the First Amendment, the [vagueness]

doctrine demands a greater degree of specificity than in other contexts.”).

      Section 1752(a)(2) contains vague and imprecise terms and phrases that fail to

provide a person of ordinary intelligence a reasonable opportunity to know what

conduct is prohibited and invite arbitrary law enforcement. “[I]mpede or disrupt the

orderly conduct of Government business or official functions,” which language

appears twice in the statute, includes within its plain meaning acts such as pure

speech, expressive conduct, and lobbying.      And “within such proximity to any




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restricted building or grounds” provides no clear limit on where exactly the statute

applies.

                                 CONCLUSION

      For the foregoing reasons, and for any other reasons set forth in additional

pleadings or at a hearing on this motion, and that this Court may deem just and

proper, the Court should grant this motion and dismiss Counts Four and Five of the

operative indictment.

                                             Respectfully Submitted,

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